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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                   Southern Division


Keneth Clark                                   :

Plaintiff,                                     :       Civil Action No.: 8:17-cv-03748-GJH

v.                                             :       JURY DEMANDED

ACE AFCME Local 2250                           :

Defendant.                                     :

                                   AMENDED COMPLAINT

         Keneth Clark (“Plaintiff”) brings this cause of action against his former employer, ACE

 AFCME Local 2250 (“AFCME”), alleging discrimination, harassment and retaliation on the

 basis of his race in violation of 42 U.S.C. Section 1981 and violations of the Fair Labor

 Standards Act.

 JURISDICTION AND VENUE

         1.       This Court has jurisdiction over the subject matter of the instant complaint

 pursuant 28 U.S.C. § 1331 because the plaintiff brings an action arising under the laws of the

 United States.

         2.       Venue is proper in this District pursuant to 42 U.S.C. § 2000e-5(f)(3) and 28

 U.S.C. §1391 because the unlawful employment practices were committed and the employment

 records were maintained, in whole or in part, in this District.
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 II.         PARTY

             3.    Plaintiff, Keneth Clark, is a citizen of the United States. He resides in Maryland

 and is over the age of majority. Plaintiff’s employment with Defendant ended on February

 28, 2015.

             4.    Defendant, ACE AFCME Local 2250 is a Union or organized bargaining

 representative on behalf of teachers in Prince George’s County, Maryland public schools. At all

 times relevant Defendant employed, Plaintiff.

 III.        FACTS

             A.    Background

        5.        Plaintiff is an African American male. AFCME hired Plaintiff in the summer of

2012. He was original supervised by James Spears, Jr., who is African American. In August of

2014, Wanda Twigg (“Twigg”) became the Executive Director and began supervising Plaintiff.

        6.        Twigg, who is a white female, treated Plaintiff’s white counterparts or peers

more favorably. Although Plaintiff worked full time, forty hours per week, Twigg refused to

provide health care benefits to Plaintiff. His white counterparts were afforded health benefits.

        7.        Twigg refused to pay Plaintiff when he worked holidays. She paid his white

counterparts for holidays worked.

        8.        When Plaintiff worked in excess of 40 hours per week, Twigg did not pay

overtime to him. When his white counterparts worked in excess of 40 hours, they were paid

overtime.

        9.        Twigg yelled at Plaintiff repeatedly and treated him in a hostile and

unprofessional manner. She referred to African American employees as “you people.” She

spoke disdainfully of African American teachers, stating openly that “you people think we are
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always here to get you out of trouble.” The majority of the Union’s members, in fact, are

African American teachers.

       10.       On one occasion, she gave an African American a card with monkeys on the

card. The employee complained of the racial insensitivity.

       11.       Plaintiff complained to Twigg about her disparate and hostile treatment. His

complaints were never investigated or acknowledged.

       12.       Although Plaintiff had no history of discipline and performed the duties and

requirements of his position optimally, Twigg terminated his employment on February 28, 2015.

       13.       Twigg replaced Plaintiff with a white employee.

 IV.     CLAIMS

 COUNT I – RACE DISCRIMINATION IN VIOLATION OF 42 USC 1981

        14.      Plaintiff incorporates and re-alleges paragraphs one (1) through 13 as if fully set

forth herein and further alleges as follows:

        15.      Defendant, through its Executive Director, treated Plaintiff less favorably than

white employees in compensation and the terms and conditions of his employment. Defendant

ultimately terminated Plaintiff based on his race. Defendant also subjected Plaintiff to a hostile

work environment because of his race by verbally attacking plaintiff, engaging in demeaning

conduct and making off-color remarks in the work place about African Americans.

        16.      As a direct and proximate result of Defendant’s discriminatory conduct, Plaintiff

suffered and will continue to suffer irreparable harm, pecuniary loses and other damages.

Plaintiff is entitled to declaratory relief, injunctive relief, compensatory and punitive damages

to make him whole, in addition to attorney fees, case expenses and costs.
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 COUNT II –RETALIATION IN VIOLATION OF 42 USC 1981

        17.     Plaintiff incorporates and re-alleges paragraphs one (1) through 13 as if fully set

forth herein and further alleges as follows:

        18.      Defendant subjected Plaintiff to disparate treatment and ultimately terminated

him as a result of his engaging in protected activity by complaining of her discriminatory

treatment.

        19.     As a direct and proximate result of Defendant’s conduct, Plaintiff suffered and

will continue to suffer irreparable harm, pecuniary loses and other damages. Plaintiff is entitled to

declaratory relief, injunctive relief, and compensatory and punitive damages to make him whole,

in addition to attorney fees and costs.

COUNT III – FAIR LABOR STANDARDS ACT

        20.     Plaintiff incorporates and re-alleges paragraphs one (1) through 16 as if fully set

forth herein and further alleges as follows:

        21.     Defendant failed to pay overtime to Plaintiff for hours Defendant suffered and

permitted Plaintiff to work in excess of forty per week. Plaintiff is not exempt from the overtime

provisions of the Fair Labor Standards Act (29 U.S.C. §201, et. seq.). Defendant also retaliated

against Plaintiff for complaining about Defendant’s failure to pay overtime by terminating his

employment.

        22.     As a direct and proximate result of Defendant’s conduct, Plaintiff suffered and

will continue to suffer irreparable harm, pecuniary loses and other damages. Defendant’s conduct

was willful and deliberate and Plaintiff is entitled to declaratory relief, injunctive relief, and

compensatory and punitive damages to make him whole, in addition to attorney fees and costs.
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 V.      RELIEF

        26.     Plaintiff requests a declaratory judgment determining that Defendant

discriminated and retaliated against Plaintiff and violated his rights as secured by the 42 U.S.C.

1981 and that further, Defendant violated Plaintiff’s rights under the Fair Labor Standards Act by

failing to pay Plaintiff overtime and that the Court issue an order enjoining Defendant from

further discrimination, retaliation and violation of his Plaintiff’s rights.

         23.     Plaintiff seeks equitable relief from Defendant including back pay and front pay.

         24.     Plaintiff seeks compensatory damages, punitive damages to deter Defendant from

 future conduct, and attorney’s fees, expenses and costs in amounts to be by a jury.

         25.     Plaintiff requests other and further relief as justice may require.



 JURY TRIAL DEMANDED



 Dated this 14th day of May, 2018.



 /s/Eden Brown Gaines
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                                CERTIFICATE OF SERVICE

I certify that a true and accurate copy of the foregoing Plaintiff’s Motion to Amend Complaint
and Amended Complaint was served this 14th day of May, 2018 upon the following via this
Court’s ECF System:

                      Mark J. Murphy
                      Mooney, Green, Saindon, Murphy & Welch, P.C.
                      1920 L Street NW
                      Suite 400
                      Washington, DC 20036
                      (202) 783-0010



 /s/Eden Brown Gaines
 Eden Brown Gaines
